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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

      Plaintiff,

                   v.                        CRIMINAL NO. 09-228 (FAB)

JOSE VIZCARRONDO-CASANOVA [6],

      Defendant.


                          MEMORANDUM AND ORDER

BESOSA, District Judge.

     On   August     9,   2011,     defendant   Jose     Vizcarrondo-Casanova

(“Vizcarrondo”) filed a motion for severance contingent upon the

admissibility of the testimony of Romulo Bello-Negron (“Bello-

Negron”).   (Docket No. 638.)        The Court DENIES defendant’s request

for a severance.

     Defendant alleges that the testimony of Bello-Negron regarding

the statements made by defendant Erick Diaz-Colon to Bello-Negron

would create an “overwhelming” amount of spillover prejudice to

defendant   Vizcarrondo      that    could   not    be   cured    by   limiting

instructions.      (Docket No. 638 at 4-7.)        As defendant admits, he

bears the burden of showing prejudice and the insufficiency of a

curative instruction when moving for severance.              Id. at 3-4.       The

decision of whether to sever defendants from a joint trial is

“entrusted to the sagacity of the trial judge under Federal Rule of

Criminal Procedure 14.” United States v. Dworken, 855 F.2d 12, 28-

29 (1st Cir. 1988) (citing Opper v. United States, 348 U.S. 48, 95
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(1954)).   The Court finds that the risk of spillover prejudice to

defendant Vizcarrondo here is too remote to warrant a severance.

The statements were not made by defendant Vizcarrondo, nor was he

present at the time the statements were made, nor is there any

evidence that defendant Vizcarrondo was aware of or endorsed the

statements. Further, the Court will issue limiting instructions to

the effect that introduction of evidence regarding statements made

by defendant Diaz-Colon are “to be considered only as to him, and

not to the other defendants.”          Id.   (Finding that co-defendants

were not victims of spillover prejudice where the judge accorded

“scrupulous care” in emphasizing “that each defendant was to be

accorded distinct, individualized treatment, and instructed the

jury to focus on the evidence against each defendant separately.”)

                               CONCLUSION

     For   the   reasons   discussed    above,   defendant Vizcarrondo’s

motion for severance is DENIED.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, August 9, 2011.


                                         s/ Francisco A. Besosa
                                         FRANCISCO A. BESOSA
                                         United States District Judge
